     Case 2:14-cv-00908-KJM-KJN Document 93 Filed 08/18/17 Page 1 of 14

 1   DENNIS M. COTA, Bar No. 127992
     dcota@cotalawfirm.com
 2   RONALD J. SCHOLAR, Bar No. 187948
     rscho lar@cotalawfirm. com
 3   CAROLYN J. FRANK, Bar No. 245479
     cfrank@cotalawfirm.com
 4   COTA COLE & HUBER LLP
     2261 Lava Ridge Court
 5   Roseville, CA 95661
     Telephone:     (916) 780-9009
 6   Facsimile:     (916) 780-9050

 7   Attorneys for Defendants
     JEREMY EDENS, KEVIN HESS, GABRIEL
 8   GUERRERO, JAMES MANOR, IRSHAD
     MOHAMMED, ERIKA GONZALEZ, SGT.
 9   DUANE CANTWELL, PAUL DONA, AND
     EDWARD WEBB
10

11

12                                    UNITED STATES DISTRICT COURT

13                              FOR THE EASTERN DISTRICT OF CALIFORNIA

14   BREANNA COOKE, individually and as Co-               Case No. 2:14-CV-00908-KJM-KJN
     Successor-In-Interest for Decedent JAMES
15   COOKE, et al.,                                       Hon. Kimberly J. Mueller

16                      Plaintiffs,                       DEFENDANTS' NOTICE OF MOTION
                                                          AND MOTION IN LIMINE N0.1:
17            v.                                          MOTION TO EXCLUDE TESTIMONY OF
                                                          DR. BENNETT OMALU
18   JEREMY EDENS, in his individual and
     official capacity as Police Officer of the City of   Pretrial Conference:
19   Stockton, et al.,                                    Date:           September 8, 2017
                                                          Time:           10:00 a.m.
20                      Defendants.                       Courtroom      3, 15th Floor

21                                                        Trial:
                                                          Date:          October 23, 2017
22                                                        Time:          9:00a.m.
                                                          Courtroom      3, 15thFloor
23

24

25

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28
     {RJS/00053409. }

                        MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
                                            Case No.2: 14-cv-00908-KJM-KJN
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 1            TO ALL PARTIES HEREIN AND TO THEIR ATTORNEYS OF RECORD:

 2            PLEASE TAKE NOTICE that at the final pretrial conference in the above-referenced

 3   matter on September 8, 2017, at 11:00 a.m. in Courtroom 3 ofthe above entitled Court,

 4   Defendants Jeremy Edens, Kevin Hess, Gabriel Guerrero, James Manor, Irshad Mohammed,

 5   Erika Gonzalez, Sgt. Duane Cantwell, Paul Dona, and Edward Webb (hereinafter "Defendants"),

 6   will, and hereby do, move this Court in limine to exclude Plaintiffs from introducing evidence as

 7   follows:

 8            Motion in Limine No.1: To exclude certain opinion testimony from Plaintiffs' non-

 9   retained expert Dr. Bennet Omalu, as described more fully in the Memorandum of Points

10   and Authorities below.
11            This Motion is made following the conference of counsel pursuant to the Court's Standing

12   Order and Pretrial Scheduling Order which took place by telephone on August 18, 2017. During

13   that conference, the parties were not able to come to agreement on the issues discussed below.

14   Defendants therefore seek an order in limine to exclude evidence related to the book and movie

15   Concussion and Dr. Omalu' s role in the same and also to exclude evidence at trial related to Dr.

16   Omalu' s opinions regarding the WRAP applied in this case under Federal Rules of Evidence 401 ,

17   403 and 702.

18            This motion is based on this Notice of Motion, the Memorandum of Points and

19   Authorities, and Declaration of Carolyn Frank attached hereto, the records and pleadings on file

20   in this matter, and upon any such further oral and documentary evidence as may be presented at

21   the hearing of this motion.

22   Dated: August 18, 2017                                COTA COLE & HUBER LLP
23

24                                                         By:      Is/ Ronald J Scholar
                                                                 Dennis M. Cota
25                                                               Ronald J. Scholar
                                                                 Carolyn J. Frank
26                                                               Attorneys for Defendants
27

28
     {RJS/00053409. }                                  1
                        MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
                                            Case No. 2: 14-cv-00908-KJM-KJN
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2          Pursuant to Federal Rules of Evidence 401 and 403, Defendants move to exclude

 3   testimony, questioning, argument, or reference of any kind relating to the following specific

 4   issues involving Plaintiffs' expert, Dr. Bennett Omalu:

 5           1.     Dr. Omalu' s statements, writings, or publications, whether by Dr. Omalu or about

 6   him, as relating to his work, experience, or theories involving brain injury or trauma, including

 7   but not limited to the condition known as Chronic Traumatic Encephalopathy (CTE). Such

 8   testimony is irrelevant and unduly prejudicial and confusingto a jury, as the events at issue do not

 9   involve a brain injury or concussion.

10          2.      The film portrayal of Dr. Omalu in the movie Concussion, including any reference

11   to the film, the actors therein, any book version of that film, or any editorial or review ofthat film

12   or its actors, as any such reference is both irrelevant and unduly prejudicial to Defendants.

13          3.      Dr. Omalu's statements or opinions as relating to the WRAP device at issue. Dr.

14   Omalu lacks foundation upon which to offer any expert testimony on this device, and any such

15   testimony by this witness exceeds the scope of his expertise.

16   I.     SUMMARY OF FACTS RELEVANT TO THIS MOTION
17          Following a traffic stop in the early morning hours of April 12, 2012, James Cooke

18   attempted to evade Stockton Police officers by first running from his vehicle, then engaging

19   Officers Eden and Hess in an extensive physical altercation. Because of his protracted resistance,

20   the efforts of multiple officers were ultimately required to gain control of Mr. Cooke and place

21   him in custody. Efforts to prevent Mr. Cooke's continued violent resistance included placing him

22   in a cloth restraint called "The WRAP," a unit which concurrently contained his legs and

23   shoulders. While in handcuffs and restrained by The WRAP, Mr. Cooke was placed in an

24   upright, seated position in the back of a Stockton Police patrol car and was transported to the

25   hospital for a pre-booking examination. Upon arrival at the hospital, it was discovered that Mr.

26   Cooke was nonresponsive and he was subsequently pronounced dead.

27          The autopsy of Mr. Cooke's body was performed by Dr. Bennet Omalu of the San Joaquin

28   County Coroner's Office. He listed the cause of death as positional asphyxia with hypertensive
     {RJS/00053409. }                               2
                    MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
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     cardiovascular disease and coronary atherosclerotic disease as contributing factors. Mr. Cooke's

 2   death was in no way attributed to head trauma or concussion. In his deposition testimony, Dr.

 3   Omalu subsequently confirmed that his conclusions regarding Mr. Cooke's death did not include

 4   any cause relating to head injury.

 5                   Q.      So that congestive brain swelling isn't
                             anything that you would relate to being
 6                           struck in the head?
 7                   A.      Less likely. I examined independent the
                             ?r~in. He did not have any concussive brain
 8                           InJury, no.

 9   Dep. of Dr. Bennet Omalu at 71:2-7. 1
10            Aside from his work as the medical examiner in this case, Dr. Omalu has garnered

11   significant fame and notoriety. He is credited with the discovery of Chronic Traumatic

12   Encephalopathy, or CTE, a brain disease that has been discovered in several former professional

13   football players. The story ofhis discovery, and battles with the National Football League, was

14   the subject of the 2015 motion picture Concussion, in which Dr. Omalu is played by actor Will

15   Smith. Publicity ofthe issue continues to the present time. See, e.g., Almond, Elliott, et al.,

16   Concussion' doctor: Youth football is child abuse: Bennet Omalu, the pathologist who discovered

17   CTE, says children under 18 shouldn't play the game, San Jose Mercury News, Aug. 9, 2017,

18   available at http://www.mercurynews.com/20 17/08/09/concussion-doctor-youth-football-is-child-

19   abuse.

20            Plaintiffs have designated Dr. Omalu as a non-retained expert and will call him to testify

21   at trial. Notwithstanding Dr. Omalu's conclusion in this case that Mr. Cooke did not suffer

22   concussive brain injury, Plaintiffs have indicated in the meet and confer on this motion that they

23   intend to raise the issue of Dr. Omalu's fame and notoriety arising from his work in that field.

24   Defendants now move to exclude any such evidence, argument, or mention on the grounds that it

25   is not relevant to any issue in this case and would be unduly prejudicial to Defendants and

26   confusing to the jury. Defendants also move to exclude any testimony from Dr. Omalu about The

27
              A true and correct copy of relevant pages of Dr. Omalu's deposition transcript are attached
28
     hereto as Exhibit 11 A. 11
     {RJS/00053409. }                                - 3 -

                     MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
                                         Case No . 2: 14-cv-00908-KJM-KJN
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 1   WRAP and its application in this case on the ground that he has no foundation for such testimony

 2   and it falls outside his area of expertise.

 3   II.      LEGAL STANDARD
 4            The provisions of Federal Rules of Evidence 401 and 403 frame the determination of

 5   whether the evidence relating to Dr. Omalu, as challenged here by Defendants, is appropriately

 6   excluded as irrelevant or unduly prejudicial. The initial determination of relevance is framed by

 7   the provisions ofFederal Rule ofEvidence 401, which provides that evidence is relevant if"(a) it

 8   has any tendency to make a fact more or less probable than it would be without the evidence; and

 9   (b) the fact is of consequence in determining the action."

10            Assuming both prongs of the Rule 40 1 test for relevant evidence are met, and proffered

11   evidence of a non-party's experiences rise to a level of being "of consequence in determining the

12   action," Rule 403 then compels "balancing of probative value and prejudice, potentially to

13   exclude as unduly prejudicial some evidence that has already been found to be factually relevant."

14   Sprint/ United Mgmt. Co. v. Mendelsohn, 552 U.S. 379, 384 (2008) (citation omitted). Rule 403

15   expressly provides that:

16                      The court may exclude relevant evidence if its probative value is

17                      substantially outweighed by a danger of one or more of the

18                      following: unfair prejudice, confusing the issues, misleading the

19                      jury, undue delay, wasting time, or needlessly presenting

20                      cumulative evidence.

21   In Sprint, the United States Supreme Court cautioned that applying Rule 403 to assess whether

22   the probative value of evidence is outweighed by its prejudice requires a "fact-intensive, context-

23   specific" inquiry. 552 U.S. at 388; see also Heyne v. Caruso, 69 F.3d 1475, 1479- 81 (9th Cir.

24   1995).

25            Application of these rules to each of the challenged categories of evidence here confirms

26   the inadmissibility of that evidence.

27   Ill

28   Ill
     {RJS/00053409. }                                   - 4-
                        MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
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     III.     BOTH FEDERAL RULE OF EVIDENCE 401 AND RULE 403 PRECLUDE
 1            PRESENTATION OF EVIDENCE OF DR. OMALU'S WORK IN THE FIELD OF
              BRAIN TRAUMA AND HEAD INJURY
 2

 3            Dr. Omalu himself has testified that the death of Mr. Cooke was not a result of a head

 4   injury. Presentation of Dr. Omalu's experience and training related to head injuries and brain

 5   trauma would have no relevance to this case. Such unrelated evidence fails to satisfy the

 6   threshold requirement of Federal Rule of Evidence 401 (b)- that the evidence be of consequence

 7   in determining the action.

 8            Here, evidence of Dr. Omalu's specialized work with regard to head injuries would serve

 9   only confuse the jury as to the nature of Mr. Cooke's injuries. Further, such testimony would

10   consume undue court time as Plaintiffs attempt to enhance the significance of their expert's

11   testimony with credentials unrelated to the issues of this case. All such efforts constitute the

12   undue prejudice excluded by Federal Rule of Evidence 403, as quoted above.

13            Any testimony relating to Dr. Omalu' s experience in dealing with head injuries offers no

14   assistance to the jury, but amounts to little more than a thinly veiled effort to prompt jurors to

15   identify this witness as the doctor who battled the NFL over the issue of player brain injury.

16   While presentation of an expert's credentials, even if tangential to the issues of the case, would

17   not ordinarily generate undue prejudice to the opposing party; in this instance, the effort to

18   capitalize on Dr. Omalu's fame in an unrelated area prejudicially seeks to enhance the credibility

19   and significance ofthis witness's testimony.

20            Testimony by Dr. Omalu on the issue ofhead injury and trauma should be excluded here

21   as both irrelevant and unduly prejudicial.

22   IV.      REFERENCE TO THE FICTIONALIZED FILM ACCOUNT OF DR. OMALU
              AFFORDS PLAINTIFFS A PREJUDICIAL ENHANCEMENT TO THE
23            EXPERT'S CREDIBILITY AND SIGNIFICANCE
24            The fictionalized portrayal of Dr. Omalu in the 2015 film Concussion focuses on the

25   identification and diagnosis of impact-related head trauma sustained by NFL football players and

26   the condition known as CTE. The film gained critical acclaim, both relating to the quality of the

27   performances and as to the treatment ofthe controversial subject of the film. The issue ofhead-

28   impact trauma and CTE remains a media topic.
     {RJS/00053409. }                                 -   5-
                        MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENN ETT OMALU
                                            Case No. 2: 14-cv-00908-KJM-KJN
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            As discussed above, however, the death at issue in this case was not caused by head

 2   injury, and Dr. Omalu acknowledges that in his deposition testimony. References to Dr. Omalu's

 3   portrayal in the film Concussion, which features his work associated with head injuries, is

 4   irrelevant to the pending action involving James Cooke, and are appropriately excluded as failing

 5   to satisfy the FRE 40 1(b) requirement of being of consequence in determining this action.

 6          Further, references to the film are prejudicial insofar as the heroic dramatization of Dr.

 7   Omalu in the film affords the witness additional fictional "credentials" inappropriately relied

 8   upon by the jury here. The only purpose Plaintiffs could have for mentioning Dr. Omalu's fame

 9   and notoriety on this unrelated issue would be to underscore the importance of the witness and his

10   conclusions. Prompting the jurors to reach such conclusions, whether by direct reference to the

11   film or less overt connections through commentary or questions relating to the film or the issues

12   addressed there, serve to unduly prejudice the defense, in violation ofFRE 403. All such

13   testimony, questions, argument or reference should be excluded here as both irrelevant and

14   unduly prejudicial.

15          Because directing the jury to the connection to this witness's fame would create

16   substantial danger of unfair prejudice, confusion of the issues before the jury, and a significant

17   waste of judicial time and resources, Federal Rule of Evidence 403 authorizes preclusion of

18   testimony where the probative value is substantially outweighed by the danger of confusion of the

19   issues, misleading the jury, or by considerations of undue delay, and waste of time. Each of those

20   elements are evident here, and to the extent such testimony, questions, reference or arguments

21   would run afoul of each of the prohibitions set forth in Federal Rule of Evidence 403,

22   Defendants' Motion in Limine to bar any such testimony is appropriately granted.

23   v.     DR. OMALU IS NOT QUALIFIED TO TESTIFY REGARDING THE WRAP,
            AND SUCH TESTIMONY SHOULD BE BARRED
24

25          Plaintiffs' designation of Dr. Omalu as a non-retained expert specifies his medical

26   credentials, including his status as former Chief Medical Examiner of the Sheriff-Coroner's

27   Office, County of San Joaquin. Plaintiffs declared that his testimony will relate to the "autopsy,

28   cause and manner of death of Decedent COOKE." See Plaintiffs' Expert Witness Designation,
     {RJS/00053409. }                          - 6 -

                    MOTION IN LIMINE NO . I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
                                         Case No.2: 14-cv-00908-KJM-KJN
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  1    Docket No. 67, filed June 5, 2017. Nothing is specified regarding experience or training with

  2    regard to engineering, use, or operation of the device known as The WRAP.

  3             Nevertheless, at his deposition, Dr. Omalu opined that The WRAP was likely utilized

  4    incorrectly here not based on any actual facts or evidence, but based on his opinion that "the

  5    product is tested in a controlled environment. And it's tested and used by experienced hands,

  6    many times experts who know how to use it. It is not like that in real life." Omalu Dep. at 76:3-

  7    25. This opinion is not based on Dr. Omalu's expertise as a coroner, nor is it based on any facts

  8    he observed in this case. Instead it is his speculation about something that might have happened.

  9    This type of speculation is impermissible under the Federal Rules.

 10             Federal Rule of Evidence 702(a) permits expert opinion only when "the expert's

 11    scientific, technical, or other specialized knowledge will help the trier of fact to understand the

 12    evidence or determine a fact in issue." Here, Dr. Omalu has no technical or specialized

 13    knowledge of the subject restraint sufficient to qualify him to provide expert testimony. Any

 14    such testimony would be outside his expertise, and thus impermissible under FRE 702.

 15    VI.      CONCLUSION

· 16            In light of the above-stated points and authorities, Defendants respectfully request this

 17    Motion in Limine be granted pursuant to Federal Rules of Evidence 401,403, and 702, and that

 18    the Court order the challenged evidence be precluded at trial, and there be no reference in any

 19    form to such evidence.

20     Dated: August 18, 2017                              Respectfully submitted,
21                                                         COTA COLE & HUBER LLP
22

23                                                         By:      Is/ Ronald J Scholar
                                                                 Dennis M. Cota
24                                                               Ronald J. Scholar
                                                                 Carolyn J. Frank
25                                                               Attorneys for Defendants
26

27

28
       {RJS/00053409. }                                 - 7-
                          MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
                                              Case No. 2: 14-cv-00908-KJM-KJN
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                                   DECLARATION OF CAROLYN FRANK
 2            I, Carolyn Frank, declare as follows:

 3             1.       I am an attorney licensed to practice law in the State of California and admitted to

 4   practice before this Court. I am a partner at Cota Cole & Huber LLP, counsel of record in the

 5   above-captioned case for Defendants. I have personal knowledge of the following facts and if

 6   called upon to testify thereto, could and would do so competently.

 7            2.        Attached hereto as Exhibit "A" is a true and correct copy of relevant pages from

 8   the deposition of Dr. Bennet Omalu in this case.

 9            I declare under penalty of perjury under the laws ofthe State of California that the above

10   is true and correct. Executed this 18th day of August, 2017 at Roseville, California.

11

12                                                                         Is/ Carolyn Frank
                                                                             Carolyn Frank
13

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     {RJS/00053409. }                                   -8-
                        MOTION IN LIMINE NO. I TO EXCLUDE TESTIMONY OF DR. BENNETT OMALU
                                            Case No.2: 14-cv-00908-KJM-KJN
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                                                Exhibit A
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                                BENNET I. OMALU, MD
                                                                        July 14, 2017

 1                        UNITED STATES DISTRICT COURT

 2                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 3

 4        BREANNA COOKE, individually and
          as Co-Successor-In-Interest for
 5        Decedent JAMES COOKE, et al . ,

 6                          Plaintiffs,

 7                vs.                     )Case No. 2:14-CV-00908-
                                          )         KJM-KJN
 8        JEREMY EDENS, in his individual )
          official capacity as Police     )
 9        Officer of the City of Stockton,)
          et al.,                         )
10                                                     )

11        ________________________________ ))
                            Defendants.


12

13

14
      -
15                 DEPOSITION OF BENNET I. OMALU,

16             MD, MBA, MPH, taken on behalf of the

17             Defendants, 2323 Grand Canal Boulevard,

18             Stockton, California, on Friday, July 14,

19             2017, at 9:29a.m., before Shelley Miller,

20             Certified Shorthand Reporter No. 9194,

21             in and for the State of California.

22

23

24

25


                     First Legal Deposition-Calendar@fi rstlegal. com              2
                                   L.A. 855.348.4997
     Case 2:14-cv-00908-KJM-KJN Document 93 Filed 08/18/17 Page 12 of 14
                               BENNET I. OMALU, MD
                                                                       July 14, 2017

 1                        STOCKTON, CALIFORNIA, FRIDAY,
 2                          JULY 14, 2017, 9:29A.M.
 3

 4                 (Whereupon, Exhibit Nos. 1 through 5 were
 5                marked for identification.)
 6

 7                       BENNET I. OMALU, MD, MBA, MPH,
 8          called as a witness, having been first duly sworn
 9                       by me, testified as follows:
10
11                                     EXAMINATION
12      BY MR. SCHOLAR:
13           Q    Good morning, sir.
14          A     Good morning, sir.
15           Q    So my name is Ronald Scholar, and I work for a
16      law firm called Cota Cole & Huber.                And we represent the
17      defendants in the case of Cooke versus Edens.                And that
18      is a lawsuit against several City of Stockton police
19      officers over the death of a gentleman named James
20      Cooke.
21          A     Yes.
22           Q    It's my understanding you performed the autopsy
23      on Mr. Cooke; is that correct?
24          A     Yes, please.
25          Q     Do you recollect performing the autopsy on

                    First Legal Deposition-Calendar@firstlegal.com                5
                                  L.A. 855.348.4997
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                               BENNET I. OMALU, MD
                                                                           July 14,2017

 1      congestive brain swelling.
 2
 3                 that you would relate to being struck in
        head?
              A    Less likel •        I examined independent the brain.
 6      He did not have any concussive brain                inju~,   no.    No.
 7      So this is just
 8                 Like if you see No. A.
 9            Q    Let me stop you there real quick because you
10      use the word "agony."          In what context-- what do you
11      mean by agony?      Like feeling pain or as a result of?
12            A    The agony of death is               death as a
13      physiological process causes a biochemical imbalance.
14      And the biochemical imbalance, the organs sense it and
15      feel it.
16                 And so in general ter.minology we use maybe as a
17      misnomer is the agony of death.               It's more -- it refers
18      more to the cellular level.
19            Q    I see.    That's what I thought you were getting
20      at.
21            A    Yes, sir.
22            Q    I just wanted to make sure it wasn't something
23      else.
24            A    Yes.
25            Q    And I cut you off, and I apologize.

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                                         BENNET I. OMALU, MD
                                                                                   July 14, 2017

  1             Q       The wrap.
  2             A       Uh-huh.
  3                     The device that was used on Mr. Cooke positions
  4      the body at a 90-degree angle, correct?
  5             A        I think when this was illustrated to me, the
  6      objective, I believe, was to                   lace the individual in a
  7      sitting        osition.          But we all know that              ra~atically   in
  8      real life it•s less likely to be ideal.
  9                     And when -- in the management of products,
         forensicall           because I•ve been involved in death of
         human beings in relation to products of all types, the
           reduct is tested in a controlled environment.                          And
         tested and used by experienced hands, many times e


                        It is not like that in real life.                     In real life
~-------------------------------------

         there are so many other contemporaneous factors that are
         existent, and the ideal objective ma                       not be attained.
                        For                  somebody is obese.
                                 olice vehicle, the tendency is for him to

~----~~~
         fall with or without the strap.
                        And the dan er is if a product is meant to
         place somebody sitting up in a 90-degree angle, if for
         whatever reason that                erson falls, that          reduct is no
         lon er being used the wa                 it should be used            and then
         the        reater the risk of harm.

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                                         L.A. 855.348.4997
